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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

DWAYNE-JEMON HARRIS,                                       )
         Plaintiff,                                        )
vs.                                                        )    No. 3:21-CV-24-E-BH
                                                           )
NATIONSTAR dba MR. COOPER, et al.,                         )
         Defendants.                                       )    Referred to U.S. Magistrate Judge1

                                NOTICE OF DEFICIENCY AND ORDER

       The complaint does not comply with Fed. R. Civ. P. 8(a). The plaintiff must submit an
amended complaint that complies with Rule 8(a) within fourteen (14) days of the date of this
order.

        The plaintiff has not paid the filing fee for this case or submitted a request to proceed in
forma pauperis. Within fourteen (14) days of the date of this order, he must either pay the $400
filing fee or submit an Application to Proceed In Forma Pauperis.

        The plaintiff must immediately notify the Court of any change of address and its effective
date by filing a notice entitled “NOTICE TO THE COURT OF CHANGE OF ADDRESS”. The
notice should contain only information about to the change of address and effective date.

       Failure to comply with this order may result in the dismissal of this lawsuit suit under
Federal Rule of Civil Procedure 41(b).

      The Clerk of the Court shall mail the plaintiff a form application to proceed in forma
pauperis and a copy of Fed. R. Civ. P. 8. No process shall issue except upon order of the Court.

          SO ORDERED this 8th day of January, 2021.


                                                                ___________________________________
                                                                IRMA CARRILLO RAMIREZ
                                                                UNITED STATES MAGISTRATE JUDGE




1
    By Special Order No. 3-251, this pro se case has been automatically referred for full case management.
